Case 9:21-cv-82193-RS Document 19 Entered on FLSD Docket 04/26/2022 Page 1 of 2



                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  Case No. 21-82193-CIV-SMITH

 THE PROFESSIONAL GOLFERS’
 ASSOCIATION OF AMERICA,

        Plaintiff,
 v.

 JTBC PLUS CORPORATION,

       Defendant.
 ______________________________/


                     ORDER SETTING CIVIL TRIAL DATE,
          PRETRIAL DEADLINES, AND REFERRAL TO MAGISTRATE JUDGE

        THIS CAUSE is set for trial during the Court’s two-week trial calendar beginning on

 March 13, 2023. If the case cannot be tried during the two-week period, it will be re-set for each

 successive trial calendar until it is tried or resolved. The Calendar Call will be held at 9:00 a.m. on

 March 7, 2023. The parties shall adhere to the following schedule:

      1. Joinder of any additional parties and filing of motion to amend the
         pleadings by                                                                      April 29, 2022

      2. Parties shall select a mediator pursuant to Local Rule 16.2 and shall
         schedule a time, date, and place for mediation by                                  May 20, 2022

      3. Plaintiffs shall disclose experts, expert witness summaries, and
         reports as required by Fed. R. Civ. P. 26(a)(2) by                                 June 17, 2022

      4. Defendant(s) shall disclose experts, expert witness summaries, and
         reports as required by Fed. R. Civ. P. 26(a)(2) by                                 July 15, 2022

      5. Exchange of rebuttal expert witness summaries and reports as
         required by Fed. R. Civ. P. 26(a)(2) by                                           August 5, 2022

      6. Written lists containing the names and addresses of all fact
         witnesses intended to be called at trial by                                     August 12, 2022

      7. Fact discovery shall be completed by                                            August 31, 2022

      8. Expert discovery shall be completed by                                          August 31, 2022
Case 9:21-cv-82193-RS Document 19 Entered on FLSD Docket 04/26/2022 Page 2 of 2



      9. Mediation shall be completed by                                            September 16, 2022

      10. Dispositive motions, including summary judgment and Daubert,
          shall be filed by                                                         September 30, 2022

      11. Deposition designations and counter designations shall be filed by        November 30, 2022

         The parties shall meet and confer prior to submitting the deposition
         designations and counter-designations in a good faith effort to
         resolve objections. Failure to comply with the deadline and the
         meet and confer may result in objections being stricken or other
         appropriate sanctions.

      12. All pretrial motions and memoranda of law, including motions in
          limine, shall be filed by                                                   January 30, 2023

         Prior to filing any motions in limine, the parties shall meet and confer
         in a good faith effort to resolve any issues. If a party has multiple
         motions in limine, they shall be filed as a single omnibus motion. All
         motions in limine and the responses shall be limited to one page per
         issue. No replies shall be permitted.

      13. Joint pretrial stipulation, proposed joint jury instructions, proposed
          joint verdict form, and/or proposed findings of fact and conclusions
          of law shall be filed by                                                    January 30, 2023

         When the parties cannot agree on specific jury instructions, the
         submitted instructions shall clearly indicate which party has
         proposed the specific instruction.



                             REFERRAL TO MAGISTRATE JUDGE
        Pursuant to 28 U.S.C. § 636(b)(1) and Rule 1 of the Magistrate Rules of the Southern

 District of Florida, all motions for attorney’s fees, costs, and sanctions, plus all non-dispositive

 pretrial motions (PTN) are REFERRED to Magistrate Judge Maynard for appropriate resolution.

        DONE AND ORDERED in Fort Lauderdale, Florida, this 26th day of April, 2022.




 cc: All counsel of record
